USDC IN/ND case 3:14-cv-01791-JD-MGG document 68 filed 08/01/18 page 1 of 2


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

KIMBERLY A. HIVELY                           )
                                             )
       Plaintiff,                            )
                                             )
       v.                                    )       CAUSE NO. 3:14-CV-1791-JD-MGG
                                             )
IVY TECH COMMUNITY COLLEGE,                  )
                                             )
       Defendant.                            )


                      JOINT MEDIATION SUMMARY STATEMENT

       The Parties, Plaintiff Kimberly Hively and Defendant Ivy Tech Community College,

mediated on July 25, 2018, before Judge Nuechterlein in South Bend, Indiana, and settled the case.

Appropriate papers to document the settlement and remove the case from the Court’s docket are

now being prepared.




                                                 1
USDC IN/ND case 3:14-cv-01791-JD-MGG document 68 filed 08/01/18 page 2 of 2




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